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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.        CV 17-8140 FMO (PLAx)                                 Date     March 9, 2018
 Title           Playboy Entertainment Group, Inc. v. Happy Mutants, LLC, et al.



 Present: The Honorable           Fernando M. Olguin, United States District Judge
                Vanessa Figueroa                                         None Present
                   Deputy Clerk                                    Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                    None Present                                          None Present
 Proceedings:             (In Chambers) Order to Show Cause Re: Sanctions or Dismissal

       Pursuant to the Court’s Order of February 14, 2018, plaintiff was required to file a Second
Amended Complaint by no later than February 26, 2018 if plaintiff wished to pursue this action.
(See Dkt. 26, Court’s Order of February 14, 2018, at 2). Plaintiff was cautioned that “failure to
timely file a Second Amended Complaint may result in this action being dismissed without
prejudice for failure to prosecute and/or failure to comply with a court order.” (Id. at 3).

        As of the filing date of this Order, plaintiff has not filed a Second Amended Complaint nor
has it indicated that it intends to stand on the allegations in the First Amended Complaint. (See,
generally, Dkt.). Accordingly, IT IS ORDERED THAT, no later than March 16, 2018, plaintiff shall
show cause in writing why sanctions should not be imposed for failure to comply with the Court’s
Order of February 14, 2018. Failure to submit a response to this Order by the deadline set forth
above may result in the imposition of sanctions and/or dismissal of this action for lack of
prosecution. See Fed. R. Civ. P. 41(b); Link v. Wabash R.R. Co., 370 U.S. 626, 629-30, 82 S.Ct.
1386, 1388 (1962); Pagtalunan v. Galaza, 291 F.3d 639, 642 (9th Cir. 2002), cert. denied, 538
U.S. 909 (2003)




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